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                         EXHIBIT 1
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                DECLARATION OF ROBERT B. GREIFINGER, MD


I, Robert B. Greifinger, M.D., hereby declare under the penalty of perjury pursuant
to 28 U.S.C. § 1746:
    1. I am a physician who has worked in health care for prisoners for more than
       30 years. I have managed the medical care for inmates in the custody of
       New York City (Rikers Island) and the New York State prison system. I
       have authored more than 80 scholarly publications, many of which are about
       public health and communicable disease. I am the editor of Public Health
       Behind Bars: from Prisons to Communities, a book published by Springer (a
       second edition is due to be published in early 2021); and co-author of a
       scholarly paper on outbreak control in correctional facilities.1
    2. I have been an independent consultant on prison and jail health care since
       1995. My clients have included the U.S. Department of Justice, Division of
       Civil Rights (for 23 years) and the U.S. Department of Homeland Security,
       Section for Civil Rights and Civil Liberties (for six years). I am familiar
       with immigration detention centers, having toured and evaluated the medical
       care in approximately 20 immigration detention centers, out of the several
       hundred correctional facilities I have visited during my career. I currently
       monitor the medical care in three large county jails for Federal Courts. My
       resume is attached as Exhibit A.
    COVID-19 Background
    3. COVID-19 is a coronavirus disease that has reached pandemic status. As of
       today, according to the World Health Organization, more than 850,000
       people have been diagnosed with COVID-19 around the world and 42,000
       have died.2 In the United States, about 214,000 people have been diagnosed
       and 4,800 people have died thus far.3 These numbers are likely an
       underestimate, due to the lack of availability of testing, especially in the
       United States.

1
  Parvez FM, Lobato MN, Greifinger RB. Tuberculosis Control: Lessons for Outbreak Preparedness in Correctional
Facilities. Journal of Correctional Health Care OnlineFirst, published on May 12, 2010 as
doi:10.1177/1078345810367593.
2
  See https://experience.arcgis.com/experience/685d0ace521648f8a5beeeee1b9125cd, accessed April 2, 2020.
3
  See https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html?searchResultPosition=1, accessed
April 2, 2020.

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      4. There is emerging evidence, from researchers in Singapore, that the virus
         that causes COVID-19 is transmissible from an asymptomatic person for one
         to two days before the person develops symptoms.4
      5. COVID-19 is a serious disease, ranging from no symptoms or mild ones for
         people at low risk, to respiratory failure and death in older patients and
         patients with chronic underlying conditions. There is no vaccine to prevent
         COVID-19. There is no known cure or anti-viral treatment for COVID-19 at
         this time. In the absence of a vaccine, the only way to mitigate the spread of
         COVID-19 is scrupulous hand hygiene and social distancing.
      6. People in the high-risk category for COVID-19, i.e., the elderly or those
         with underlying disease, are likely to suffer serious illness and death when
         they are infected. According to preliminary data from China, 20% of people
         in high risk categories who contract COVID-19 have died.
      7. Those who do not die have prolonged serious illness, for the most part
         requiring expensive hospital care, including ventilators that are in very short
         supply.
      8. The Centers for Disease Control and Prevention (CDC) has identified
         underlying medical conditions that may increase the risk of serious COVID-
         19 for individuals of any age: blood disorders, chronic kidney or liver
         disease, compromised immune system, endocrine disorders, including
         diabetes, metabolic disorders, heart and lung disease, neurological and
         neurologic and neurodevelopmental conditions, and current or recent
         pregnancy.
      9. Social distancing and hand hygiene are the only known ways to prevent the
         rapid spread of COVID-19. For that reason, public health officials have
         recommended extraordinary measures to combat the spread of COVID-19.
         Schools, courts, collegiate and professional sports, theater and other
         congregate settings have been closed as part of risk mitigation strategy.
Risk of Outbreak of COVID-19 in Detention Centers
      10. The conditions of immigration detention facilities pose a heightened public
          health risk to the spread of COVID-19, even greater than other non-carceral
          institutions. ICE will not be able to stop the spread of COVID-19 within its

4
    https://www.cdc.gov/mmwr/volumes/69/wr/mm6914e1.htm?s_cid=mm6914e1_w, accessed April 2, 2020.

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           facilities. ICE has already reported the presence of detainees with confirmed
           COVID-19 in multiple detention facilities.5
      11. One of the few means of preventing a COVID-19 infection is through social
          distancing—that is maintaining a distance of at least six feet between
          individuals so as not to unintentionally spread the virus to others. This is
          nearly impossible in a detention center, where crowding of individuals is
          commonplace. Immigration detention facilities are enclosed environments,
          much like the cruise ships that have been sites of large concentrated
          outbreaks of COVID-19. Immigration detention facilities have even greater
          risk of virus transmission because of crowding, the proportion of vulnerable
          people detained, the ingress and egress of staff, and often scant medical care
          resources.
           Take the sally-port or control port, for example. This is a series of two
           locked gates that bring all staff and detained persons past a guard in a
           window control room. These areas often become severely crowded,
           especially during shift changes for staff or leading up to count for the
           detained people. In this context, close contact is unavoidable; it creates a
           breeding ground for COVID-19 infection.
           These sally-ports are also a focal point for staff to transfer keys, radios, and
           other equipment through a hand to hand transaction, intensifying the risk of
           transmitting infection from a staff member to others.
      12. In a detention center, people live in close quarters and cannot achieve the
          “social distancing” needed to effectively prevent the spread of COVID-19.
          Toilets, sinks, and showers are shared, without disinfection between use.
          Food preparation and food service is communal, with little opportunity for
          surface disinfection. Staff arrive and leave on a shift basis; there is little to
          no ability to adequately screen staff for new, asymptomatic infection.
      13. Many immigration detention facilities lack adequate medical care
          infrastructure to address the spread of infectious disease and treatment of
          high-risk people in detention. As examples, immigration detention facilities
          often use practical nurses who practice beyond the scope of their licenses;
          have part-time physicians who have limited availability to be on-site; and
          facilities with no formal linkages with local health departments or hospitals.

5
    https://www.ice.gov/coronavirus, accessed April 2, 2020.

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    14. It is difficult to capture the full extent of the problem because testing
        materials have been in very short supply and the fact that people who are
        infected with COVID-19, as far as we know, can be asymptomatic for up to
        two days before showing the symptoms associated with the disease.
    15. ICE is not set up to be able to contain the disease once it is inside of its
        facilities or the facilities of its contractors. This is because of the realities of
        an infectious disease within the tight confines of a detention center and the
        history of inadequate health care that ICE has provided to detainees, directly
        or through its contractors. The CDC has warned detention centers to plan for
        staffing shortages due to the impact of COVID-19 on detention center staff.6
        The COVID-19 crisis only exacerbates ICE’s longstanding struggle to
        maintain adequately staffed facilities.
    16. Moreover, the Georgia detention centers have well-documented problems in
        the provision of adequate medical care.7 Extended wait times for detained
        individuals who are ill to see a medical professional, compounds the risk of
        transmission. Densely congregated living areas and food preparation
        practices fail to comply with the standards that would prevent the spread of
        COVID-19.
    17. The only viable public health strategy available is risk mitigation. Even with
        the best-laid plans to address the spread of COVID-19 in detention facilities,
        the release of vulnerable individuals is a key part of a risk mitigation
        strategy.


ICE’S Ameliorative Measures Will Not Be Effective
    18. There are no changes in procedure that can alleviate these concerns.
        Approaches like solitary confinement or keeping individuals locked into
        their cells more hours of the day will make the problem worse. These
        approaches are psychologically damaging to detained people and may lead
        to a spike in severe depression, attempted and completed suicides, and
        medical emergencies. In the context of an outbreak in the facility, when

6
  3 https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-
detention.html#social_distancing, accessed April 2, 2020
7
  https://www.oig.dhs.gov/sites/default/files/assets/FOIA/OIG_FOIA_Stewart-Detention-Center-Work-Papers.pdf;
https://www.oig.dhs.gov/sites/default/files/assets/2017-12/OIG-18-32-Dec17.pdf. Accessed April 2, 2020.

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           onsite medical staff are operating at or over capacity, the problems can
           accelerate.
       19. In addition to social distancing, another key measure to prevent the spread of
           COVID-19 is frequent and thorough hand washing. Handwashing stations
           are often few and far between in detention centers; soap is often in short
           supply. Many facilities do not have handwashing stations that allow water to
           be turned on and remain on. Instead, the faucets automatically shut off after
           a period of time, making it nearly impossible to wash one’s hands for the
           recommended twenty seconds.
       20. In addition to these challenges, ICE has failed to adequately respond to the
           COVID-19 pandemic. Both the March 6, 2020 interim guidance sheet8
           produced by ICE Health Services Corps, the body that oversees ICE
           detention facilities’ medical care, ICE’s guidance on its website,9 and the
           ICE internal guidance dated March 27, 2020 are wholly insufficient to
           adequately face the crisis at hand. They fail in these ways:
               a. The protocol focuses on travel contacts, instead of community spread.
                  Questions focus on detainee’s recent travel history. This misses the
                  mark. At this point in the course of the pandemic, nearly everyone
                  who is not practicing social distancing is in contact with someone who
                  has the virus. The correct focus is monitoring active symptoms,
                  including fever and interaction with sick individuals upon entry into
                  the ICE facility, including sick detained people and staff. Staff is an
                  especially important vector in this outbreak. Since they go back and
                  forth between the detention centers and the communities where they
                  live, the detention centers will be hit by COVID-19 at the same time
                  as the surrounding communities, staff and their families included.
               b. The ICE protocol does not follow the measures in the CDC guidelines
                  for long term care facilities. Specifically, it does not ensure access to
                  hand sanitizer or provide masks for individuals with a cough.
                  Although the March 27, 2020 guidance recommends access to hand
                  sanitizer inside the detention centers, it does so only for ICE-operated
                  facilities, not contract detention centers like those in Georgia. It also
                  fails to specify the alcohol content of the hand sanitizer, leading to the
                  risk of low-content hand sanitizers that are not effective.

8
    https://www.aila.org/infonet/ice-interim-reference-sheet-coronavirus, accessed April 2, 2020.
9
    https://www.ice.gov/covid19, accessed April 2, 2020.

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  c. The ICE protocol does not provide guidance on how to deal with
     surge capacity, which will almost certainly be necessary as the
     number of cases in the detention facility increases and the number of
     healthy staff who can treat detained people decreases. The March 27,
     2020, guidance merely recommends that detention centers continue to
     hire staff, which is not a meaningful suggestion where individuals are
     instructed to shelter in place and socially distance.
  d. There is no guidance on when to test detained people. ICE Health
     Service Corps leadership should provide daily updates to medical staff
     disseminating criteria for testing in this rapidly changing environment.
     Epidemiologists working in conjunction with local and federal
     COVID-19 responders must be part of the decision-making process
     guiding this daily protocol. The March 27, 2020, guidance to simply
     follow CDC guidelines with regard to testing is insufficient and will
     lead to inconsistent testing.
  e. The protocol does require close contacts of people with suspected
     COVID-19 to be monitored for 14 days for symptoms. However,
     many people who arrive at the detention facility, including both staff
     and detained persons, will have had contact with someone with
     COVID-19. The detention facility’s medical unit simply cannot
     handle the volume of patients that would need this level of
     monitoring. There needs to be significantly more facilities and staffing
     to meet these needs, but, to my knowledge, ICE has not made the
     appropriate changes to accommodate such a level.
  f. There is no guidance in the protocol to identify the highest risk
     patients or steps to protect them from contracting COVID-19. The
     plan needs to include an improved intake process, cohorted housing
     areas for high-risk patients, increased infection control measures, and
     increased medical surveillance, including daily checks for signs and
     symptoms. And these measures will mean nothing if social distancing
     is not followed. Social distancing of six feet, as recommended by the
     CDC, will be impossible in all ICE facilities, especially in light of
     practices such as double celling.
  g. There are no clear criteria for hospital transfer. As clinical staff have
     no experience with this disease, ICE should develop rational clinical
     criteria for transfer to an acute care hospital.



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  21. The ICE response envisions using isolation rooms to monitor individuals
      with COVID-19 symptoms. However, most facilities only have one to four
      of these rooms. There will be many more than one to four people with
      COVID-19 in the detention center. Instead, ICE must create entire housing
      units reserved for people with COVID-19 symptoms, so that symptomatic
      patients can live separately from those who are asymptomatic or at risk.

  22. Isolation is not a proper solution for people without symptoms or confirmed
      disease. Detainees who are isolated are monitored less frequently. If they
      develop COVID-19 symptoms, or their symptoms escalate, they may not be
      able to get the medical attention they desperately need in a timely fashion. It
      also makes it more likely that these detained people will attempt suicide or
      self-harm, giving rise to more medical problems in the midst of a pandemic.
      Isolation also increases the amount of physical contact between staff and
      detained people—in the form of increased handcuffing, escorting individuals
      to and from the showers, and increased use of force due to the increased
      psychological stress of isolation. My expert opinion is that the use of
      isolation or lockdown is not a medically appropriate method for abating the
      substantial risks of COVID-19.

  23. Transferring individuals between facilities, a common ICE practice, is
      medically inappropriate during the outbreak. ICE does not have the staffing
      needed to monitor the transferred patients for the appropriate 14-day period
      to check for symptoms. However, ICE has not provided guidance to halt or
      limit transfers.
Release is the Most Effective Public Health Measure to Curb Morbidity and
Mortality
  24. In my opinion, the public health recommendation is to release vulnerable
      people from detention, given the heightened risks to their health and safety,
      especially given the lack of a viable vaccine for prevention or effective
      treatment at this stage. To the extent that vulnerable detainees have had
      exposure to known cases with laboratory-confirmed infection with the virus
      that causes COVID-19, they should be tested immediately in concert with
      the local health department. Those who test negative should be released.
  25. Releasing the most vulnerable patients reduces the burden on local health
      care resources, as it reduces the risk of transmission of the disease to a large
      number of people living in close proximity for an extended period of time.

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   26. This release cohort can be separated into two groups. Group 1 could be
       released to home quarantine for 14 days, assuming they can be picked up
       from detention centers by their families or sponsors. Group 2 comprises
       those who cannot be easily transported to their homes by their families or
       sponsors. Group 2 could be released to a housing venue for 14 days,
       determined in concert with the Georgia Department of Health.
   27. ICE must release all people with risk factors who pose no danger to society.
       This will prevent serious illness including death. ICE’s response has made
       abundantly clear that they do not plan to establish special protections for
       high-risk patients, instead waiting for them to become infected,
       symptomatic, and in danger. The lack of special protections will lead to
       unnecessary illness and death for the people most vulnerable to this disease.
       ICE is walking willingly into a preventable disaster by keeping high-risk and
       vulnerable patients in detention facilities during the rapid spread of COVID-
       19.


Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is
true and correct.
Executed this _2nd____ day in April 2020 in New York City, New York.




Robert B. Greifinger, M.D.




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                          EXHIBIT A
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                               ROBERT B. GREIFINGER, M.D.

380 Riverside Drive, Apt 4F                                                              (646) 559-5279
New York, New York 10025                                                             bob@rgreifinger.com

Physician consultant with extensive experience in development and management of complex community
and institutional health care programs. Demonstrated strength in leadership, program development,
negotiation, communication, operations and the bridging of clinical and public policy interests. Teacher
of health and criminal justice.


                                     SUMMARY OF EXPERIENCE
MEDICAL MANAGEMENT AND QUALITY IMPROVEMENT SERVICES                                  1995-Present
Consultant on the design, management, operations, quality improvement, and utilization management for
correctional health care systems.
•   Recent clients include (among others) the U.S. Department of Justice Civil Rights Division,
    monitoring multiple correctional systems and the U.S. Department of Homeland Security Office of
    Civil Rights and Civil Liberties. Federal court monitor for the Metropolitan Detention Center,
    Albuquerque, New Mexico, Orleans Parish Sheriff’s Office, New Orleans, Louisiana, and Miami-
    Dade Corrections and Rehabilitation Department.
•   National Commission on Correctional Health Care. Principal Investigator for an NIJ funded project
    to make recommendations to Congress on identifying public health opportunities in soon-to-be-
    released inmates.
•   Associate Editor, Puisis M (ed), Clinical Practice in Correctional Medicine, Second Edition, St.
    Louis. Mosby 2006.
•   Editor, Greifinger, RB (ed), Public Health Behind Bars: From Prisons to Communities, New York.
    Springer 2007.
•   John Jay College of Criminal Justice. Professor (adjunct) of Health and Criminal Justice and
    Distinguished Research Fellow 2005 – 2016.
•   Co-Editor, International Journal of Prison Health 2010 – 2016.


NEW YORK STATE DEPARTMENT OF CORRECTIONAL SERVICES                                        1989 - 1995
Operating budget of $1.4 Billion. Responsible for inmate safety, program, and security. Sixty-nine
facilities housing over 68,000 inmates with 30,000 employees.
Deputy Commissioner/Chief Medical Officer, 1989 - 1995

•   Operating budget of $140 million; health services staff of 1,100. Accountable for inmate health
    services and public health. Directed major initiatives in policy and program development, quality and
    utilization management.

•   Developed and implemented comprehensive program for HIV prevention, surveillance, education,
    and treatment in nation's largest AIDS medical practice.

•   Managed the rapid implementation of an infection control program responding to a major outbreak of
    multidrug-resistant tuberculosis. Helped bring the nation's tuberculosis epidemic to public attention.

•   Developed $360 million five-year capital plan for inmate health services. Opened the first of five
    regional medical units for multispecialty ambulatory and long-term care.

•   Implemented a centralized and regional pharmacy system, improving quality, service and cost
    management.
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                               ROBERT B. GREIFINGER, M.D.

MONTEFIORE MEDICAL CENTER, Bronx, NY                                                      1985 - 1989
A major academic medical center with 8,000 employees and annual revenue of $500 million.
Vice President, Health Care Systems, 1986 - 1989
Director, Alternative Delivery Systems, 1985 - 1986
Operating budget of $60 million with 1,100 employees. Managed a multi-specialty group, a home health
agency, and prison health programs.

•   Negotiated contracts, including bundled service, risk capitation, fee-for-service arrangements, and
    major service contracts. Developed a high technology home care joint venture.

•   Taught epidemiology and health care organization at Albert Einstein College of Medicine. Lectured
    nationally on health care delivery and managed care.

•   Conceived and collaborated in development of a consortium of six academic medical centers, leading
    to a metropolitan area-wide, joint venture HMO. Organized a network of physicians to contract with
    HMO's preparing for cost-containment.


WESTCHESTER COMMUNITY HEALTH PLAN, White Plains, NY                              1980 - 1985
Independent, not-for-profit, staff-model HMO, acquired by Kaiser-Permanente in 1985.             Operating
revenue $17 million with 200 employees and 27,000 members.
Vice President and Medical Director
Chief medical officer and COO. Managed the delivery of comprehensive medical services. Accountable
to the Board of Directors for quality assurance and utilization management. Practiced pediatrics.

•   Accomplished turnaround with automated utilization management, improved service, sound
    personnel management principles, and quality management programs.

•   Implemented performance based compensation program.
COMMUNITY HEALTH PLAN OF SUFFOLK, INC.                                           1977 - 1980
Community based, not-for-profit, staff model HMO, with enrollment of 18,000.
Medical Director

•   Developed and operated clinical services. Accountable for quality of care. Practiced clinical
    pediatrics, and taught community health and medical ethics at SUNY Stony Brook School of
    Medicine.
MONTEFIORE MEDICAL CENTER, Bronx, NY                                                      1976 - 1977
Residency Program in Social Medicine, Deputy Director, 1976-1977
Unique clinical training program focused on community health and change agentry. Developed
curriculum and supervised 40 residents in internal medicine, pediatrics and family medicine.
UNITED STATES PUBLIC HEALTH SERVICE                                                       1972 - 1974
Commissioned officer in the National Health Service Corps. Functioned as medical director and family
physician in a federally funded neighborhood health center in Rock Island, Illinois. Honorable Discharge.
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                              ROBERT B. GREIFINGER, M.D.

                                     FACULTY APPOINTMENTS
1976 - 2002
        Assistant Professor of Epidemiology and Social Medicine, Albert Einstein College of Medicine

2005 - 2016
       Professor (adjunct) of Health and Criminal Justice and Distinguished Research Fellow, John Jay
           College of Criminal Justice


                      NATIONAL COMMITTEE FOR QUALITY ASSURANCE
Worked with NCQA since its inception in 1980. Began training surveyors in 1989, and continued as
faculty for NCQA sponsored educational sessions. Served for six years as a charter member of the
Review Oversight (accreditation) Committee. Served on the Reconsideration (appeals) Committee for six
years. Surveyed dozens of managed care organizations, and reviewed several hundred quality
management programs.
                                OTHER PROFESSIONAL ACTIVITIES

2012 – present Member, Board of Directors, Prison Legal Services, New York
2012 – present Member, Board of Directors, National Health Law Program
2011 – 2015     Member, Board of Directors, Academic Consortium of Criminal Justice Health
2010 - 2016     Co-editor, International Journal of Prisoner Health
2009            Recipient, B. Jaye Anno Award for Lifetime Achievement in Communication
2007-2015       Member, National Advisory Group on Academic Correctional Health Care
2007            Recipient, Armond Start Award, Society of Correctional Physicians
2005 - 2011     Member, Advisory Board to the Prisoner Reentry Institute, John Jay College
2002 - present Member, Editorial Board, Journal of Correctional Health Care
2002 - present Peer reviewer for multiple journals, including Journal of Correctional Health Care,
                   International Journal of Prison Health, Journal of Urban Health, Journal of Public
                   Health Policy, Annals of Internal Medicine, American Journal of Public Health,
                   Health Affairs, and American Journal of Drug and Alcohol Abuse.
2001 - 2003     Member, Advisory Board to CDC on Prevention of Viral Hepatitis in Correctional
                  Facilities
1999 - 2003     Member, Advisory Board to CDC on Prevention and Control of Tuberculosis in Jails
1997 - 2003     Member, Reconsideration Committee, NCQA
1997 - 2001     Moderator, Optimal Management of HIV in Correctional Systems, World Health
                  Communications
1997 - 2000     Member, Reproductive Health Guidelines Task Force, CDC
1993 - 1995     Co-chair, AIDS Clinical Trial Community Advisory Board, Albany Medical Center
1992 - Present Society of Correctional Physicians
1991 - 1997     Member, Review Oversight (accreditation) Committee, NCQA
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                              ROBERT B. GREIFINGER, M.D.

1983 - 1985     Executive Committee, Medical Directors' Division, Group Health Association of
                   America (Secretary, 1984-1985)
                                             EDUCATION
University of Pennsylvania, College of Arts and Sciences, Philadelphia; B.A., 1967 (Amer. Civilization)
University of Maryland, School of Medicine, Baltimore; M.D., 1971
Residency Program in Social Medicine (Pediatrics), Montefiore Medical Center, Bronx, NY; 1971-1972,
       1974-1976, Chief Resident 1975-1976


                                           CERTIFICATION
Diplomate, National Board of Medical Examiners, 1971
Diplomate, American Board of Pediatrics, 1976
Fellow, American Academy of Pediatrics, 1977
Fellow, American College of Physician Executives, 1983
Fellow, American College of Correctional Physicians (formerly Society of Correctional Physicians), 2000
License: New York, Pennsylvania (inactive)
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                              ROBERT B. GREIFINGER, M.D.




                                                                                 Updated February 2018
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        Immunocompromised Persons in a Correctional System. MMWR 1992; 41(26): 509-511.
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        Medicine 1993; 118(2): 139-145.
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                              ROBERT B. GREIFINGER, M.D.

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       Prison System, 1990-1991, Journal of Infectious Disease 1994; 170(1):151-156.
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